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Transaction history


                     Check                                                             Deposits/   Withdrawals/    Ending daily
      Date         Number Description                                                    Credits          Debits       balance
      4/1           11110 Check                                                                          507.00
      4/1                  Deposit                                                      4,143.50
      4/1                  Purchase authorized on 04/01 The Home Depot 983                               603.17
                           Hackensack NJ P302091742221042 Card 7052
      4/1                  Purchase authorized on 04/01 The Home Depot 983                               543.29
                           Hackensack NJ P382091748910411 Card 7052
      4/1                  Purchase authorized on 04/01 The Home Depot 983                               543.29
                           Hackensack NJ P462091753165805 Card 7052
      4/1           11111 Check                                                                          880.00
      4/1           11116 Check                                                                          540.00
      4/1           11109 Check                                                                          200.00
      4/1           11108 Check                                                                          480.00       5,528.49
      4/4                  Recurring Payment authorized on 04/01 Intuit *Quickbooks                       87.10
                           Cl.Intuit.Com CA S382091406881362 Card 7052
      4/4           11113 Check                                                                          100.00
      4/4           11118 Check                                                                          640.00
      4/4           11117 Check                                                                          960.00       3,741.39
      4/5                  Purchase authorized on 04/03 Anddone Ecom Kansas City MO                    1,609.64
                           S582094216353350 Card 7052
      4/5           11115 Check                                                                          240.00
      4/5           11114 Check                                                                          480.00       1,411.75
      4/6                  Deposit                                                      4,953.00                      6,364.75
      4/7                  Purchase authorized on 04/06 Remote Landlord Sy                               360.00
                           800-606-0822 NJ S302096631675402 Card 7052
      4/7                  Purchase authorized on 04/07 The Home Depot 983                               487.76
                           Hackensack NJ P382097831715717 Card 7052
      4/7           11119 Check                                                                          540.00
      4/7           11121 Check                                                                          950.00       4,026.99
      4/8                  Recurring Payment authorized on 04/07 Intuit *Quickbooks                       87.10
                           Cl.Intuit.Com CA S582097369784977 Card 7052
      4/8           11124 Check                                                                          260.00
      4/8           11125 Check                                                                          880.00       2,799.89
      4/11                 Deposit                                                      5,375.00
      4/11          11126 Check                                                                          544.82
      4/11          11127 Check                                                                          992.00       6,638.07
      4/12                 Deposit                                                      3,325.00                      9,963.07
      4/14                 Deposit                                                      1,759.00
      4/14                 Cashed/Deposited Item Retn Unpaid Fee                                          12.00
      4/14                 Deposited Item Retn Unpaid - Paper 220414                                     550.00
      4/14          11128 Check                                                                          540.00
      4/14          11129 Check                                                                          595.00      10,025.07
      4/15          11133 Check                                                                          250.00
      4/15          11139 Check                                                                          880.00
      4/15          11134 Check                                                                        1,200.00       7,695.07
      4/18                 Deposit                                                      2,240.00
      4/18          11142 Check                                                                          550.00
      4/18          11140 Check                                                                          640.00
      4/18          11131 Check                                                                          290.41
      4/18          11130 Check                                                                          414.29
      4/18          11136 Check                                                                          200.00
      4/18          11135 Check                                                                          480.00       7,360.37
      4/20                 Deposit                                                     10,178.00
      4/20                 Purchase authorized on 04/19 Petro Home Svcs 800-645-4328                   4,716.61
                           NY S382109469713515 Card 7052
      4/20          11141 Check                                                                          960.00      11,861.76
      4/22          11143 Check                                                                          540.00
      4/22          11145 Check                                                                          880.00
      4/22          11144 Check                                                                        2,500.00       7,941.76
      4/26                 Deposit                                                       950.00
      4/26                 Purchase authorized on 04/25 Petro Home Svcs 800-645-4328                     943.32       7,948.44
                           NY S462115477500049 Card 7052
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Transaction history(continued)
                          Check                                                                                  Deposits/        Withdrawals/            Ending daily
       Date             Number Description                                                                         Credits               Debits               balance
       4/27                     Purchase authorized on 04/26 Petro Home Svcs 800-645-4328                                             3,773.29
                                NY S582116479340251 Card 7052
       4/27              11146 Check                                                                                                       540.00            3,635.15
       4/29                     Deposit                                                                          7,962.00
       4/29              11138 Check                                                                                                        240.00
       4/29              11137 Check                                                                                                        480.00
       4/29              11155 Check                                                                                                        250.00
       4/29              11147 Check                                                                                                        813.30
       4/29              11149 Check                                                                                                        880.00
       4/29              11152 Check                                                                                                      1,200.00           7,733.85
       Ending balance on 4/30                                                                                                                                7,733.85

       Totals                                                                                                 $40,885.50           $38,833.39

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when
       your transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




Summary of checks written(checks listed are also displayed in the preceding Transaction history)

      Number            Date                Amount          Number            Date                 Amount          Number            Date                   Amount
      11108             4/1                  480.00         11125             4/8                   880.00         11139             4/15                    880.00
      11109             4/1                  200.00         11126             4/11                  544.82         11140             4/18                    640.00
      11110             4/1                  507.00         11127             4/11                  992.00         11141             4/20                    960.00
      11111             4/1                  880.00         11128             4/14                  540.00         11142             4/18                    550.00
      11113 *           4/4                  100.00         11129             4/14                  595.00         11143             4/22                    540.00
      11114             4/5                  480.00         11130             4/18                  414.29         11144             4/22                  2,500.00
      11115             4/5                  240.00         11131             4/18                  290.41         11145             4/22                    880.00
      11116             4/1                  540.00         11133 *           4/15                  250.00         11146             4/27                    540.00
      11117             4/4                  960.00         11134             4/15                1,200.00         11147             4/29                    813.30
      11118             4/4                  640.00         11135             4/18                  480.00         11149 *           4/29                    880.00
      11119             4/7                  540.00         11136             4/18                  200.00         11152 *           4/29                  1,200.00
      11121 *           4/7                  950.00         11137             4/29                  480.00         11155 *           4/29                    250.00
      11124 *           4/8                  260.00         11138             4/29                  240.00

      * Gap in check sequence.


Monthly service fee summary
For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to
wellsfargo.com/feefaq for a link to these documents, and answers to common monthly service fee questions.


       Fee period 04/01/2022 - 04/30/2022                                              Standard monthly service fee $10.00                    You paid $0.00

       How to avoid the monthly service fee                                                               Minimum required                    This fee period
       Have any ONE of the following account requirements
         • Average ledger balance                                                                                  $1,000.00                         $6,703.00   ÷
         • Minimum daily balance                                                                                    $500.00                          $1,411.75   ÷
       The Monthly service fee summary fee period ending date shown above includes a Saturday, Sunday, or holiday which are non-business days.
       Transactions occurring after the last business day of the month will be included in your next fee period.
       C1/C1
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Account transaction fees summary
                                                                             Units       Excess     Service charge per         Total service
      Service charge description                       Units used       included          units        excess units ($)          charge ($)
      Cash Deposited ($)                                        0           5,000             0                0.0030                   0.00
      Transactions                                            100             100             0                   0.50                  0.00
      Total service charges                                                                                                             $0.00




Other Wells Fargo Benefits

Our National Business Banking Center customer service number 1-800-CALL-WELLS (1-800-225-5935) hours of operation have
temporarily changed to 7:00 a.m. to 11:00 p.m. Eastern Time, Monday through Saturday and Sunday 9:00 a.m. to 10:00 p.m. Eastern
Time. Access to our automated banking system, the ability to report a fraud claim on your business credit or debit card, and access
to report a lost or stolen business card will continue to be available 24 hours a day, 7 days per week. Thank you for banking with
Wells Fargo. We appreciate your business.




       IMPORTANT ACCOUNT INFORMATION

Effective March 31, 2022, the sentence "Incoming wire transfers, electronic direct deposits, cash deposited at a teller window and at
a Wells Fargo ATM, and the first $400 of a day's check deposits at a teller window and at a Wells Fargo ATM will be available on the
day we receive the deposits" in the first paragraph of the "Your ability to withdraw funds" section under the "Availability of funds
policy" in the Deposit Account Agreement will be replaced by "Incoming wire transfers, electronic direct deposits, cash deposited at
a teller window and at a Wells Fargo ATM, and the first $400 of a day's check deposits at a teller window, at a Wells Fargo ATM, and
with the Wells Fargo Mobile Banking app will be available on the day we receive the deposits."
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General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts                           • If your account has a negative balance: Please note that an account
belonging to individuals, including sole proprietorships, to consumer                             overdraft that is not resolved 60 days from the date the account first
reporting agencies. If this applies to you, you have the right to dispute the                     became overdrawn will result in closure and charge off of your account. In
accuracy of information that we have reported by writing to us at:                                this event, it is important that you make arrangements to redirect any
Overdraft Collections and Recovery, P.O. Box 5058, Portland, OR                                   automatic payments you receive. The closure will be reported to Early
97208-5058.                                                                                       Warning Services. We reserve the right to close and/or charge-off your
                                                                                                  account at an earlier date, as permitted by law. The laws of some states
You must describe the specific information that is inaccurate or in dispute                       require us to inform you that this communication is an attempt to collect
and the basis for any dispute with supporting documentation. In the case of                       a debt and that any information obtained will be used for that purpose.
information that relates to an identity theft, you will need to provide us
with an identity theft report.


Account Balance Calculation Worksheet                                                                Number                  Items Outstanding                  Amount
1. Use the following worksheet to calculate your overall account balance.
2. Go through your register and mark each check, withdrawal, ATM
   transaction, payment, deposit or other credit listed on your statement.
   Be sure that your register shows any interest paid into your account and
   any service charges, automatic payments or ATM transactions withdrawn
   from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
   outstanding checks, ATM withdrawals, ATM payments or any other
   withdrawals (including any from previous months) which are listed in
   your register but not shown on your statement.


ENTER
A. The ending balance
   shown on your statement . . . . . . . . . . . . . . . . . . . . . . . $

ADD
B. Any deposits listed in your                                                $
   register or transfers into                                                 $
   your account which are not                                                 $
   shown on your statement.                                                 + $

    .. .. .. .. .. .. .. .. .. .. .. .. ... .. .. .. .. .. .. ..    TOTAL $

CALCULATE THE SUBTOTAL
  (Add Parts A and B)
  .. .. .. .. .. .. .. .. .. .. .. .. ... .. .. .. .. .. .. ..
  .                                                                 TOTAL $

SUBTRACT
C. The total outstanding checks and
   withdrawals from the chart above . . . . . . . . . . . . . - $

CALCULATE THE ENDING BALANCE
  (Part A + Part B - Part C)
  This amount should be the same
  as the current balance shown in
  your check register . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $


                                                                                                                                            Total amount $




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